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    7   Attorneys for Defendant
        NewGen Administrative Services, LLC
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    9
                           UNITED STATES DISTRICT COURT
   10
                         CENTRAL DISTRICT OF CALIFORNIA
   11

   12   S&F MANAGEMENT COMPANY,                Case No. 2:24-cv-2095-AB-DFM
   13
        LLC,
                                               DEFENDANT NEWGEN
   14
                                               ADMINISTRATIVE SERVICES,
                          Plaintiff,           LLC’S CORPORATE DISCLOSURE
   15                                          STATEMENT
        vs.
   16                                          Complaint Filed: March 14, 2024
   17   NEWGEN ADMINISTRATIVE
        SERVICES, LLC,
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   19                      Defendant

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              NEWGEN ADMINISTRATIVE SERVICES, LLC’S CORPORATE DISCLOSURE STATEMENT
                                  CASE NO. 2:24-CV-2095-AB-DFM
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    1   TO THE COURT AND TO ALL PARTIES AND THEIR COUNSEL:
    2         Defendant NewGen Administrative Services, LLC (“NewGen”) files this
    3   Disclosure Statement pursuant to Fed. R. Civ. P. 7.1:
    4         Defendant NewGen is a limited liability company that is organized under the
    5   laws of the state of California with its principal place of business in Los Angeles,
    6   California. NewGen is entirely owned by its parent company, NewGen LLC, a
    7   limited liability company that is organized under the law of the state of California
    8   with its principal place of business in Los Angeles, California. No publicly held
    9   corporation owns 10 percent or more of NewGen’s stock or NewGen LLC’s stock.
   10

   11   Dated: April 4, 2024                    ORSUS GATE LLP
   12                                              Denis Shmidt
   13                                              Nabil Bisharat

   14                                           By: /s / Nabil Bisharat
   15                                               Nabil Bisharat
                                                     Attorneys for Defendant
   16                                               NewGen Administrative Services, LLC
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              NEWGEN ADMINISTRATIVE SERVICES, LLC’S CORPORATE DISCLOSURE STATEMENT
                                  CASE NO. 2:24-CV-2095-AB-DFM
Case 2:24-cv-02095-AB-DFM Document 18 Filed 04/04/24 Page 3 of 3 Page ID #:196


    1                          CERTIFICATION OF SERVICE
    2         The undersigned hereby certifies that on April 4, 2024, all counsel of record
    3   who are deemed to have consented to electronic service are being served with a
    4   copy of this document via the Court’s CM/ECF system.
    5
                                                 By: /s/ Nabil Bisharat
    6                                                Nabil Bisharat
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              NEWGEN ADMINISTRATIVE SERVICES, LLC’S CORPORATE DISCLOSURE STATEMENT
                                  CASE NO. 2:24-CV-2095-AB-DFM
